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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

JARROD JOHNSON,

       Petitioner,
                                                      Criminal No. 03-80028
v.                                                    Civil No. 08-13515


UNITED STATES OF AMERICA,                             Hon. John Corbett O’Meara

       Respondent.

________________________________/


                 ORDER DENYING CERTIFICATE OF APPEALABILITY

       On April 27, 2009, Petitioner filed a notice of appeal of this court’s April 10, 2009 order

denying his motion to vacate sentence pursuant to 28 U.S.C. § 2255. In response to Petitioner’s

notice of appeal, this court must determine whether to issue a certificate of appealability.

       In a habeas corpus proceeding in which the detention complained of arises from
       process issued by a state court, or in a 28 U.S.C. § 2255 proceeding, the applicant
       cannot take an appeal unless a circuit justice or a circuit or district judge issues a
       certificate of appealability under 28 U.S.C. 2253(c). If an applicant files a notice
       of appeal, the district judge who rendered the judgment must either issue a
       certificate of appealability or state why a certificate should not issue.

Fed. R. App. P. 22(b). The court may issue a certificate of appealability if the petitioner has

made a substantial showing of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2).

       [T]he petitioner need not show that he should prevail on the merits. He has
       already failed in that endeavor. Rather, he must demonstrate that the issues are
       debatable among jurists of reason; that the court could resolve the issues [in a
       different manner] or that the questions are “adequate to deserve encouragement to
       proceed further.”

Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983); Hence v. Smith, 49 F. Supp. 2d 547, 549 (E.D.

Mich. 1999).
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        The court finds that is not debatable among jurists of reason that Petitioner’s habeas

petition was untimely and, therefore, subject to dismissal. Accordingly, the court will not issue a

certificate of appealability.

        SO ORDERED.

                                              s/John Corbett O’Meara
                                              United States District Judge


Date: July 21, 2009




I hereby certify that a copy of the foregoing document was served upon the parties of record on
this date, July 21, 2009, by electronic and/or ordinary mail.


                                              s/William Barkholz
                                              Case Manager
